Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 1 of 37 Page|D 2230

United States District Court
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA ex
rel EDWARD HENDRICKSON

CIVIL ACTION NO. 3:16~CV~0292-S

BANK OF AMERICA, N.A., et al.

<
COOCO>CO'JCO':<O'JCMMGOQ¢O>

MEMORANDUM OPINION AND ORDER

This Order addresses Defendants’l Motion to Dismiss [ECF No. 92]. For the reasons
below, the l\/Iotion is granted in part and denied in part.
I. BACKGROUND

A. The Federal Benejl"t Payment System
This qui ram action arises out of alleged vioiations of the False Clairns Act (“FCA”) by
sixteen banks that process benefit payments for the recipients of federal benefits. Certain federal
entitlement programs contemplate lifetime benefit payments Arn. Compl. 1§ 15. These include
programs administered by the Social Security Adrninistration (“SSA”), the Office of Personnel
Managernent (“OPM”), the Railroad Retirernent Board (“RRB”), and the Departrnent of Veterans

Affait's (“VA”). Id. The recurring benefit payments from these agencies are intended to cease

 

‘ The defendants in this case are Bank of America, N.A., Wells Fai‘go Bank, N.A.1 Citibanf<, N.A., Comerica Banl<,
Wells Fargo Bank, N.A., .FP l\/iorgan Chase Banf<, N.A., l\/lanufacturers and Traders Trust Company, Seacost National
Bank, Fitth Titird Bank, PNC Ban§<, N.A., The Northern Trust Company, Frt)st Bank, Tite American National Bank
of Texas, Centrue Bank, Amarillo National Banl<, and Wachovia Bank, N.A. Relator Edward Hendrici<son, with the
consent ofthe United States, voiuntarily dismissed Defendant Compass Bank on May 2], 2018. See ECF Ncs. §24,
125, 128.

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 2 of 37 Page|D 2231

once the person receiving the payments (tiie “Recipient”)2 dies Id. Relator Edward Hendrickson
(“Relator”) alleges that, due to fraud by Defendants, the payments often continue long after the
Recipient has died and that a large percentage of the overpayments are never returned to the
Government.

The process by Which federal agencies make recurring benefit payments entails several
steps First, the agencies transmit the funds to the Automated Ciearing House (“ACH”) network.
Am. Compl. 1[ 19. The bank Where the Recipient has an account receives the funds from the ACH
network and then deposits the payment into the Recipient’s account. ]d. il 20. Tlie banks
participating in the ACH network are referred to as “Receiving Depository Financiai lnstitutions”
(“RDFI”). In’. il 23. All of the banks named as defendants in the instant case are RDFIS. When
an RDFI accepts a benefit payment, it agrees to be bound by appiicable Department of Treasury
(“Treasury”) ruies and regulations Id. il 2i. Tlie main sources of such regulations are 31 C.F.R.
Part 210 (“Part 210”) and the “instructions and procedures” issued under Part 210, including the
Treasury Financiai l\/Ianuai and the Green Book. 31 C.F.R. § 210.3(c)', see also Am. Compl. ii 27.
Every time a bank accepts a deposit, it renews its contractual promise to abide by Treasury rules
and regulations See BUREAU or THE FisCAL SERV., GREEN Booi<h 5-3 (2016),
https://www.fiscal.treasury.gov/ fsreports/ref/greenBook/downloads.htrn. {hereinafter Green
Book]; Am. Compi. jt 28. According to Reiator, RDFls are intended to act as “gatekeepers” and
ensure that the payments they receive are authorized Am. Compl. il 29.

Reiator posits that RDFIS typically learn of Recipients’ deaths When they receive Death

Notification Entries (“DNEs”). [d. il 32. A DNE informs an RDFI that a Recipient has died. [d.

 

2 The governing regulations define “Recipient” as “a naturai person . . . that is authorized to receive a Federal payment
ii‘orn an agency.” 3E C.F.R. § 210.2(0). A “Beneficiary” is “a natural person other than a recipient who is entitied to
receive the benefit of all or part ofa benefit payment.” Id. § Q§G.Z(g).

2

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 3 of 37 Page|D 2232

il 33. Only federal agencies can originate DNES. Id. il 32 (quoting Green Book 4-2). The SSA,
OPM, and RRB ali issue DNEs. Id. il 34. ln Relator’s view, pursuant to the Green Book, RDFIS
are obiigated to stop accepting benefit payments and are “encouraged” to “fiag” the deceased
Recipient’s account once they receive a DNB. Id. ilil 36-37 (citing and quoting Green Book 5-8,
4-2). Pursuant to 31 C.F.R. § 210.1()(a), “An RDFI shali be iiable to the Federai Government for
the total amount of ail benefit payments received after the death . . . of a [R}ecipient . . . unless the
RDFI has the right to limit its iiability under l3i C.F.R. § 210.1 l].”

When the Government finds out that a payment was made to a deceased Recipient, it can
issue a Notice of Reclamation (“NOR”) to the appropriate RDFI. Am. Compl. il 55. Upon
receiving the NOR, the RDFI can limit its iiability by certifying, on the NOR, the date it Eearned
of the Recipient’s death. Id. il 56. The RDFI is oniy required to return payments received after it
became aware of the death. Id. il 58.

B. Relator ’s Allegations

Relator alleges that Defendants routinely violated the FCA by ignoring DNEs and falsely
certifying on NORS that they had learned of Recipients’ deaths after receiving DNEs. Id. il 59.
Relator learned of this alleged fraud while working as an investigator in the Office of the inspector
General (“OIG”) for the VA from 1996 to 2016. [d. ii 60. in this role, Relator was responsible for
investigating and attempting to recoup recurring benefit payments made by the VA after Recipients
had died. Id. Relator alleges that, in the course of performing this investigatory function, he
requested and reviewed NORS submitted by Defendants. Id. il 64. While performing this review,
Reiator contends that he uncovered “numerous instances” of Defendants falseiy certifying the date
on which they learned of Recipients’ deaths Id. This alleged misconduct harmed federal agencies

by depriving them of taxpayer money to which they were entitled and by forcing them to incur the

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 4 of 37 Page|D 2233

costs associated with attempting to recover unauthorized payments from third parties Who
withdrew funds from deceased Recipients’ accounts Io'. il 65.

Relator filed this case under the qui mm provisions of the FCA on February 2, 20i6. On
l\/larch 30, 2017, the United States notified the Court that it declined to intervene in the case. See
Notice of Declination [ECF No. il}. Relator filed his Amended Complaint on .iuiy 20, 201?. The
Amended Cornpiaint contains two causes of action. in Count i, Relator alleges a violation of 31
U.S.C. § 3729(a)(1)(B), the false record provision of the FCA. In Count ll, Relator alleges a
vioiation of 31 U.S.C. § 3729(a)(l )(G), the reverse false claims provision ofthe FCA.3 On October
30, 20i 7, Defendants moved to dismiss the Amended Complaint in its entirety.4 "l`he Court heard
oral argument on the Motion to Dismiss on l\/lay lO, 2018. With permission from the Court, the
parties completed supplemental briefing on June 29, 2018.

C. lee Reverse False Clm`.msAct

A reverse false claim consists of “knowingly mak[ing], us[ing}, or caus[ing] to be made or
used, a false record or statement material to an obligation to pay or transmit money or property to
the Government, or knowingly conceal[ing] or knowingly and improperly avoid[ing] or
decreasling] an obligation to pay or transmit money or property to the Government.” 31 U.S.C. §
3729(a)(1)(G). “ln a reverse false claims suit, the defendant’s action does not resuit in improper

payment by the government to the defendant, but instead results in no payment to the government

 

3 On June 26, 2018, Reiator voluntarily dismissed Count l. See ECF No. 133. Thus, only his reverse false claims
cause of action remains before the Court.

4 Pursuant to Special Order 3-318, this case was transferred from the docket of Chiet`Judge Barbar‘a M.G. Lynn to the
docket ofthis Court on March 8, 2018.

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 5 of 37 Page|D 2234

when a payment is obligated.” Unired Srofes ex rel Boin v. Go. Gulf Corp., 386 F.3d 648, 653
(Sth Cir. 2004).
II. DISCUSSION
A. Standing

Under the Constitution, a federal court may decide only actual cases or controversies U.S.
CONST. art. lll, § 2. A court property dismisses a case where it lacks the constitutional power to
decide it. See Home Builders Ass’n ofM/'ss., Irrc. v. Cin oandr'son, l43 F.3d 1006, 1010 (5th
Cir. 1998). Dismissal for lack of subject-matter jurisdiction is warranted when “it appears certain
that the plaintiff cannot prove any set of facts in support of his claim that would entitle plaintiff to
relief.” Gr`lberr v. Donnhoe, 751 F.3d 303, 307 (5th Cir. 2014) (quoting Rmmm`ng v. Um'red Stotes,
281 F.3d l58, 161 (Sth Cir. 200l)). “Lack of subject matterjurisdiction may be found in any one
of three instances (1) the complaint alone; (2) the complaint supplemented by undisputed facts
evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the court’s

§§

resolution of disputed facts Romming, 281 F,3d at l6i (citing Borrer'a~Monter/regro v. United
Sfores, 74 F.3d 657, 659 (Sth Cir. 1996)).

Standing is a component of subject-matter jurisdiction that is properly raised by a motion
to dismiss under Rule l2(b)(l). See Hollis v. Lynch, 121 F. Supp. 3d 617', 626 (N.D. Tex. 2015)
(“[Wlhether a party has proper standing is a question of subject matter jurisdiction.” (citing Cobb
v. Cem‘. Stares, 461 F.3d 632, 635 (Sth Cir. 2006))). 'l`he requirement that a litigant must have
standing “to invoke the power of a federal court is perhaps the most important of [the case-or-
contr'oversy] doctrines.” Allen v. Wright, 468 U.S. 737, 750 (1984), abrogated on other grounds

by Lexmnrk Inf’l, luc. v. Stmic Comrol Componems, Irrc., 572 U.S. 118 (2014). To establish

standing, a plaintiff must demonstrate that (l) he or she has suffered an injury in fact that is both

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 6 of 37 Page|D 2235

concrete and imminent; (2) there is a “causal connection between the injury and the conduct
complained of”; and (3) the injury is likely to be “redressed by a favorable decision.” Lujnn v.
Defenders of Wildlr`fe, 504 U.S. 555, 560~6i (1992) (citations omitted). Defendants claim that
Relator is unable to establish the redressability element required for Article iii standing due to
preemption and assignment of damages to the Federal Reserve Banks. 'i`he Court will address each
argument in turn.
i. Preemption

First, Defendants argue that Relator lacks standing because Part 210 provides the exclusive
remedy for liability arising out of benefit payments over the ACH network. See 31 C.F.R. §
210.3(a) (“The rights and obligations of the United States and the Federal Reserve Banks with
respect to all Government entries . . . are governed by this part . . . .”). Defendants contend that
Part 2l0 contains the exclusive remedy for recovery of benefits paid to deceased recipients, limits
financial institutions’ liability to the amount of credit entries transmitted to them,5 and sets the
amount for which an RDFI can be liable in connection with the reclamation process Because this
comprehensive regulatory scheme exists, Defendants argue, “Reiator’s attempt to insert himself
and his purported FCA claims into the well-developed body of laws regulating the ACH system
and the nation’s commercial banks” is inappropriate Defs.’ Br. 1 1 [ECF No. 95]', See also, e,g.,
United Sror‘es ex rel Cormer' v. Snlina Reg’l Heolrh Ctr., 543 F.3d l211, l222 (10th Cir. 2008)
(When the statute creates “a complex monitoring and remedial scheme . . . fit would] be curious
to read the FCA . . . to undermine the government’s own regulatory procedures.”).

However, Defendants’ argument contravenes “well~estabiished law that strongly disfavors

preclusion of one federal statute by another absent express manifestations of preclusive intent.”

 

5 Because oftiris provision, Defendants argue that subjecting them to treble damages and penalties is inconsistent with
Pa:t 210, which limits damages to the amount of actual loss.

6

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 7 of 37 Page|D 2236

United Stoles v. Sjorzn, 326 F.3d 107, lll (2d Cir. 2003) (citing United Stofes v. Gen. Dynomics
Corp., 19 F,3d 770, 774 (2d Cir. 1994)). lndeed, “when two statutes are capable of co»existence,
it is the duty of the courts . . . to regard each as effective.” Morfon v. Moncorr`, 417 U.S. 535, 55l
(l974). Within the context of the FCA specifically, courts have been “reluctant to find pre-
emption[,] . . . even where other laws provide closely related regulation and remedies.” United
Sfofes ex r‘e]. Follon v. Accudyne Corp., 880 F, Supp. 636, 639 (W.D. Wis. 1995) (discussing
Second Circuit’s holdings in Gerrerol Dynomr'cs Corp., 19 F.3d 770, and United Sr‘ofes v. Fos!er
Wheeler Corp., 447 F.2d 100 (2d Cir. 197l)).

This Court declines to deviate from the aforementioned legal principles in the instant case.
Neither the text of Part 2l0 nor its legislative history contains an “express manifestation[l of
preclusive intent.” Sforzo, 326 F.3d at 11 l. lf Congress desired to preclude the FCA’s operation
in this context, it could have done so, and it has done so in the past. When Congress desired to
prohibit FCA actions based upon fraudulent federal income tax filings (because such fraud is
addressed and remedied by the internal Revenue Code), it added subsection (d) to 31 U.S.C. §
3729.6 However, “Congress did not extend such an exclusion to . . . claims which provide remedies
for proscribed conduct other than fraud on the government.” Follorr, 880 F. Supp. at 639. Further,
for the reasons discussed below, no “positive repugnancy” between Part 210 and the FCA prevents
the Court from giving effect to both statutes Corm. Nor'l Bnnk v. Germnr'n, 503 U.S. 249, 253
(l992) (quoting Woodv. Unitedeares, 41 U.S. (16 Pet.) 342, 363 (1842)).

Tlre cases cited by Defendants in support of their argument do not stand for the proposition
that the existence of a comprehensive regulatory scheme displaces the FCA, but rather that mere

regulatory violations with nothing more are insufficient to support a finding that the FCA has been

 

6 31 U.S.C. § 3729(d) states that the FCA “does not apply to claims, records, or statements made under the internal
Revenue Code of l986.”

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 8 of 37 Page|D 2237

violated See, e.g., Conner, 543 F.3d at 1221 (“There is thus no basis . . . to adopt an express false
certification theory that turns every violation of a l\/ledicare regulation into the subject of an FCA
qui tam lawsuit.”); United Stores ex rel, Vigil v. Nefnel, Inc., 639 F.3d 791, 795»96 (8th Cir. 201 1),
superseded on other grounds by stcrtute, Fraud Enforcement and Recovery Act of 2009, 31 U.S.C.
§ 3729(a)(1)(B) (“The FCA is not concerned with regulatory noncompliance Rather, lt serves a
more specific function, protecting the federal fisc by imposing severe penalties on those whose
false or fraudulent claims cause the government to pay money.”). In the instant case, Relator
alleges affirmative fraud rather than a simple regulatory violation, so the cases cited by Defendants
are distinguishable

l\/loreover, the cases cited by Relator support the notion that the FCA and Part 210 can
coexist. First, each provides for different remedies See Follon, 880 F. Supp. at 639 (finding FCA
not preempted by environmental statutes, in part, because suit under federal environmental statutes
could not “obtain fraud damages or statutory penalties for defrauding the government.”). Second,
those remedies complement each other, as the FCA allows for deterrence penalties not contained
in Part 210. See Sforzo, 326 F.3d at 113-14. Part 210 does not address-much less provide
remedies for-fraud. See Gerr. Dynomics Corp., 19 F.3d at 774-75 (“It would be anomalous to
conclude that legislation thus animated was intended by Congress to weaken or preclude the
availability of other federal remedies in areas that the [Anti-Kickback Act] concededly did not

address.”). Third, the FCA and Part 210 cover different actions The FCA applies specifically to

 

 

Case 3:16-cv-00292-S Document 143 Filed 10/26/18 Page 9 of 37 Page|D 2238

“false, fictitious, or fraudulent” ciaims~»--not merely inaccurate ones. Fosle)' Wheele/" Corp., 447
F.2d at 101.

Because the FCA and Part 210 provide different remedies for different conduct, and
because of the strong presumption against preemption, the Court denies Defendants’ 1\/lotion to
Dismiss the Amended Complaint on this ground

ii. Assigument

Second, Defendants argue that Relator lacks standing because he is not an assignee of the
claim for damages “[T]he Art. 111 judicial power exists only to redress or otherwise to protect
against injury to the complaining pcirly.” VI. Agency ofNar. Res. v. United Smfes ex rel. Srevens,
529 U.S. 765, 771 (2000) (quoting Warfh v. Seldin, 422 U.S. 490, 499 (1975)). ln cases involving
a relator, the relator has standing only because the FCA effects a partial assignment of the
Government’s damages claim. See id at 773. Defendants argue that, in this case, any claim for
damages has already been assigned to the Federal Reserve Banl<s (non-governmental entities) for
collection See Spr:`nt Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 283 (2008)
(“{A}ssignees for collection only can properly bring suit.”). Defendants base their argument on
Subpart B of Part 210:

lf an RDFI does not return the full amount of the outstanding total or any other

amount for which the RDFI is liable under this subpart in a timely manner, the

Federal Governrnent will collect the amount outstanding by instructing the

appropriate F ederal Reserve Banl< to debit the account utilized by the RDFI.

31 C.F.R. § 210.10(€:).
Defendants argue that the Federal Reserve Banks’ ability to debit the account constitutes

an assignment for collection by the Governrnent. Thus, Defendants conclude, the Government

cannot re-assign the same right to Relator for purposes of the FCA. See Scrlem Tr. Co. v. M]?‘s. ’

Case 3:16-cv-OO292-S Document 143 Filed 10/26/18 Page 10 of 37 Page|D 2239

Firz. Co., 264 U.S. 182, 197 (l924) (“A subsequent assignee takes nothing by his assignment,
because the assignor has nothing to give.” (citation omitted)).

The Court disagrees with Defendantsl The alleged injury in fact that confers standing on
Relator is fraud, which, as discussed above, is not addressed in Part 210. See Sprinr Commc 'ns,
554 U.S. at 286 (“[T]he Faise Claims Act . . . authorizes a private party to bring suit to remedy an
injury (fraud) that the United States, not the private party, suffered.”). “[T}he United States’ injury
in fact suffices to confer standing on” a relator. Sfevens, 529 U.S. at 774. The damages flowing
from that injury (fraud) are not assigned to the Federal Reserve Banl<s under Part 210, but rather
to Reiator under the FCA. See id. at 773 (“The FCA can reasonably be regarded as effecting a
partial assignment of the Government’s damages claim.”).

Even if Part 210 were somehow implicated, the mere ability to instruct a Federal Reserve
Bank to collect the Government’s damages does not cause legal title to those damages to vest in
the Federal Reserve Bank. 1n Sprinf Commc ’ns, the Supreme Court of the United States repeated
that the assignee’s possession of legal title to the claim gave rise to standing See 554 U.S. at 283
(reviewing Supreme Court precedent allowing suits by assignees possessing legal title). Nothing
in Subpait 13 expressly vests the Federal Reserve Banl<s with legal title. See 1'0’. at 286
(emphasizing importance of contractual language assigning “all rights, title and interest” to
assignee (quoting App. to Pet. for Cert. 114)). if the Federal Reserve Banks do not have legal title
to the damages, then the Governrnent retains the right to assign a portion of those damages to
Relator.

ln sum, the Court rejects Defendants’ theory, which would render relators unable to bring
FCA actions based on conduct governed by Part 210. 1f the Government had already assigned to

the Federal Reserve Banks its right to collect damages for any failure by an RDF 1 to return funds,

10

 

 

Case 3:16-cv-OO292-S Document 143 Filed 10/26/18 Page 11 of 37 Page|D 2240

the Government would lose the right to rely on a qui mm suit to remedy fraud perpetrated by an
RDFI. Qw' mm suits must be brought by private citizens, and the Federal Reserve Banks clearly
are not private citizens See 31 U.S.C. § 3730(b). The Court declines to adopt a reading of Part
210 that would have such an effect on qui ram litigation. For all of the foregoing reasons, the
Court finds that Relator has standing to bring the instant lawsuit and denies Defendants’ Rule
l2(b)(l) l\/iotion to Dismiss.
B. Pubh`c Disclosure

Defendants claim that sixteen sources constitute public disclosures that bar Relator’s
lawsuit The FCA sets forth criteria for public disclosures Two versions of the public-disclosure
bar apply to the claims at issue in this case because of statutory amendments that took effect in
2010. For claims arising prior to March 23, 2010, the bar is as follows:

No court shall have jurisdiction over an action under this section based upon the

public disclosure of allegations or transactions in a criminal, civil, or administrative

hearing, in a congressional, administrative or Government Accounting Ofi'ice

report, hearing, audit, or investigation, or from the news media, unless the action is

brought by the Attorney General or the person bringing the action is an original

source of the information
3l U.S.C. § 3730(e)(4)(A) (1986). On l\/larch 23, 2010, the Patient Protection and Affordable Care
Act amended the bar to read:

The court shall dismiss an action or claim under this section . . . if substantially the

same allegations or transactions as alleged in the action or claim were publicly

disclosed . . . (i) in a F ederal criminal, civil, or administrative hearing in which the

Government or its agent is a party; (ii) in a congressional, Government

Accountability Office, or other Federal report, hearing, audit, or investigation; or

(iii) from the news media, unless the action is brought by the Attorney General or

the person bringing the action is an original source of the information

31 U.S.C. § 3730(e)(4)(A) (2010). The Fifth Circuit applies the 1986 version to allegations based

on conduct that occurred prior to l\/larch 23, 2010, and applies the 2010 version to allegations based

ll

Case 3:16-cv-OO292-S Document 143 Filed 10/26/18 Page 12 of 37 Page|D 2241

on conduct occurring on or after that date. See United Sta£es ex rel Lockey v. Cin ofDallas, 576
F. App’x 431, 435, 437 (5th Cir. 2014).

'l`here are several differences between the two versions, none of which alter the outcome
of this Court’s analysis First, the bar no longer contains jurisdictional language; instead it requires
a court to dismiss barred actions This is a difference without a distinction in the instant ease.
Prior to the 2010 amendments courts viewed a jurisdictional challenge under the FCA as “the
equivalent of a motion for summary judgment because it lwas] necessarily intertwined with the
merits.” United Srdtes ex rell Solomon v. Lockheed Mcn‘rin Corp., 878 F.3d 139, 143 (5th Cir.
2017). lt is unclear whether the 2010 version of the public-disclosure bar is still a jurisdictional
barrier or whether it is now an affirmative defense lf it is an affirmative defense, it would require
Defendants to “establish beyond peradventure all of the essential elements of the defense.” United
States ex rell Lockey v. C."ty ofDallas, Civ. A. No. 3:ll~cv“354-O, 2013 WL 26837l, at *5 (N.D.
Tex. Jan. 23, 2013) (citation omitted). The Fifth Circuit has yet to address this issue. But, even if
the amendments contemplated converting the jurisdictional inquiry into an affirmative defense,
the ultimate outcome remains the samemif there has been a disqualifying public disclosure, the
lawsuit will be dismissed See Lockey, 2013 WL 268371, at *l3 (“Even with this change in
statutory language, because this jurisdictional threshold must be resolved preliminarily, the Court’s
analysis as a practical matter, remains the same.” (citing United Smtes ex rell Osheroffv. Humcma,
Inc., No. 10-24486-cv-SCOLA, 20l2 WL 4479072, at *4 (S.D. Fla. Sept. 28, 2012))).

The Court would reach the same conclusion in the instant case regardless if the Court
required Defendants to carry the affirmative defense burden of proof, Defendants would still

prevail, and the public-disclosure bar would prohibit Relator from moving forward with his

12

 

Case 3:16-cv-OO292-S Document 143 Filed 10/26/18 Page 13 of 37 Page|D 2242

lawsuit.7 Thus, the Court need not, and declines to, decide whether the 20l 0 amendment changes
the public-disclosure bar from a jurisdictional inquiry to an affirmative defense.

Second, the action no longer is required to be “based upon” publicly disclosed
transactions-it must instead be “substantially the same.” This change has no real impact, as
courts considering the term “based upon” interpreted it to mean “substantially the same.” See,
e.g., Lockey, 2013 WL 26837l, at *13-*14 (noting that inquiry under 2010 version “essentially
remains the same” as inquiry under 1986 version)', see also Osheroff, 2012 WL 4479072, at *10
(declining to “labor unnecessarily to draw narrow distinctions to the extent there are any, between
[the two] standards” in case that did not present close call). Third, state court hearings are no
longer considered sources of public disclosures This change only disqualifies one of Defendants’
proffered disclosures as noted below.

Finally, the definition of “original source” differs between the two versions Under the
1986 version, an original source is someone “who has direct and independent knowledge of the
information on which the allegations are based and has voluntarily provided the information to the
Government before filing an action under this section which is based on the information.” 31
U.S.C. § 3730(@)(4)(3) (l986). Under the 2010 version, an original source is someone “who either
(i) prior to a public disclosure . . . , has voluntarily disclosed to the Government the information

on which allegations or transactions in a claim are based, or (2) [sic} who has knowledge that is

 

7 If the bar is an affirmative defense, “the Court may convert a motion to dismiss that asserts this affirmative defense
into a motion for summary judgment provided the Court ‘abides by the procedural safeguards of Rule 56.”’ Lockey,
2013 Wl_. 26837l, at *5 n.3 (quoting Capr'to/ F."hns Corp. v. C/tcu'!es Fries Prods., Inc., 628 F.2d 38'?, 390-91 n.l (Sth
Cir. 3980)). When parties submit evidence outside the pleadings at the motion to dismiss stage, they are on notice
that the Court could convert the motion into a motion for summary judgment ]d. Here, the Court can properly convert
the Motion to Dismiss into a motion for summary judgment because Defendants submitted evidence outside of the
pleadings in their briefing Rciator had multiple opportunities over the course of approximately six months to respond
and present summaryjudgment evidence, and Relator himself asserted that using the summary judgment standard is
proper. ld.; see also Relator’s (“Rel.”) Mem. in Opp’n 9 [ECF No. 106]. Defendants also noted that the Court “:nay
elect to treat this motion as . . . a motion t`or summaryjudgment.” Defs.’ Br. 21 n.9 [ECF No. 93].

13

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 14 of 37 Page|D 2243

independent of and materially adds to the publicly disclosed allegations or transactions, and who
has voluntarily provided the information to the Government before filing an action under this
section.” 31 U.S.C. § 3730(e)(4)(B) (2010).

The Fifth Circuit employs an overarching, three-part test to guide the analysis of whether
the public-disclosure bar applies: “1) whether there has been a ‘public disciosure’ of allegations or
transactions, 2) whether the qui tam action is ‘based upon’ such publicly disclosed ailegations, and
3) if so, whether the relator is the ‘original source’ of the information.” United Smtes ex rel.
Jomison v. McKesson Corp., 649 F.Bd 322, 327 (Sth Cir. 2011) (quoting Fed. Recovery Servs.,
Inc. v. United Smtes, 72 F.3d 447, 450 (5th Cir. 1995)). The publicly disclosed allegations or
transactions “need only be as broad and as detailed as those in the relator’s compiaint.” Id. To
allocate the burden of proof, courts use a burden-shifting approach in which defendants must first
identify public disclosures “piausibly containing allegations or transactions on which [the
relator’s] complaint is based.” Icf. Then, the burden shifts to the relator to show that there is a
genuine issue of material fact as to whether his action was “based on” such disclosuresl Id.
Because the differences in the inquiries under the i986 bar and the 2010 bar are minimal, the
foliowing analysis applies to both pre~ and post-l\/iarch 23, 20l0, conduct, except where otherwise
noted.

i. Origiual vs. Amenn'ed Complaim

As an initial matter, the Court must consider whether its jurisdictional analysis should
proceed under the original or amended version of the complaint Some courts have analyzed only
the original complaint in determining whether jurisdiction exists under the 1986 version of the
public-disclosure bar. See, e.g., Jamison, 649 F.3d at 328 (hoiding that when original “cornplaint

did not establish jurisdiction, it should have been dismissed', [the reiator’s] amendments cannot

14

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 15 of 37 Page|D 2244

save it”). However, in the instant case, Defendants have directed theirjurisdictional arguments to
the Amended Complaint. See Defs.’ Br. 24 n.11 [ECF No. 93]. The Court finds that nothing
precludes its ability to consider the argument that “this Court lacks jurisdiction, regardless of
whether the original Cornplaint fails to provide a basis for jurisdiction in the first instance.” United
Sloles ex rel. Colqw`rt v. Abbofr Lcrbs., 864 F. Supp. 2d 499, 514 (N.D. Tex. 2012). Thus, this
Court will focus only on the Amended Complaint in analyzing whether it has jurisdiction under
the 1986 version of the public-disclosure bar.
ii. Pubh`c Disclosm‘e ofAHegations or Tmnsactions

The first issue for this Court to consider is whether there was a public disclosure of the
allegations or transactions at issue that predated the filing of Relator’s complaint Courts look for
three required elements: “(1) public disclosure; (2) in a particular form specified in the statute; and
(3) of allegations or transactions.” Colquirt, 864 F. Supp. 2d at 517. 'l`he Court will consider the
first two elements here. The Court will then consider the last element in conjunction with its
“based upon” inquiry below. See Jomt'son, 649 F.3d at 327 (“[C]ombining the first two steps can
be usefui, because it allows the scope of the reiator’s action in step two to define the ‘allegations
or transactions’ that must be publicly disclosed in step one.”).

Defendants identify a litany of public disclosures that they contend are in the form specified
by the FCA, including state and federal court cases, government administrative reports, and news
articlesl As both parties agree, the state court case cited by Defendants, Derryberry v. Natr`onsBa/ik
of Tex., N.A.,8 only constitutes a public disclosure for purposes of the 1986 version of the public-

disclosure bar.

 

3 No. 01-95-01438-CV, 1998 WL 93275 (Tex. App.Wl-louston list Dist.] Mar. 5, 1998, pet. denied), certl ciem'ec/, 525
U.S. 1121 (1999).

15

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 16 of 37 Page|D 2245

Relator contests Defendants’ assertion that the l987 Banking Circular,9 the Green Book,10
and the SSA Progranis Operations Manual System (“POl\/lS”)]l constitute public disclosures See
Defs.’ App. Exs. G, K-l\/l. Defendants argue that these sources are “administrative reports” and
thus constitute public disclosures Defs.’ Reply 13. “[T]o be an administrative report within the
meaning of the FCA, a document must (l) constitute official government action and (2) provide
information.” Colquirr, 864 F. Supp. 2d at 518. The threshold for the “official government action”
element is low; all that is required under Col`qw`tt is that the government release the information in
question. lot Here, as in Colqut')‘t, all three sources are published by government agencies_the
Office of the Comptroller of the Currency, Treasury, and the SSA, respectively And, all three
provide information Thus, the Court finds that all of Defendants’ proffered sources constitute
public disclosures

iii. “Based Upon”

Next, the Court must determine whether Relator’s complaint is ‘°based upon” (or
substantially similar to) any of the public disclosures identified by Defendants Because the Court
combined the first and second steps, the essential question for the Court is now “whether the scope
of Relators’ action is similar to the allegations or transactions that are publicly disclosed.” Loekey,
2013 WL 268371, at * i4. A complaint is based upon public disclosures where “one could have
produced the substance of the complaint merely by synthesizing the public disclosures’ description
of the . . . scheme[.]” Jomr'son, 649 F.Bd at 331. The public disclosures must “‘provide[j specific

details about the fraudulent scheme and the types of actors involved in it’ sufficient to ‘set the

 

9 OFF[CE OF 'l‘HE CoMPTROLLER OF 'l`l~lE CURRENCY, FEDERAL RECURRING PAYMENTS THROUGH FINANCIAL
le't'tTUTtONs Bv MEANS OTHER t‘l~-tAN BY CHECK (1987).

m Green Book chs. 4-5_

“ SOC. SEC. ADMIN., SoclAL SECURITY ADMIleTRATIoN PRooRAM OPERA'E‘:ONS MANUAL SYsTEM GN 02408.605,
http:/fsecure.ssa.gov/poms.nsf/inx/0202408605.

16

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 17 of 37 Page|D 2246

government on the trail of the fraud’ and ensure that the government will not ‘need to comb
through myriad transactions performed by various types of entities in search of potential fraud.”’
Id. at 329 (quoting fn re Nat. Gas Royalli`es, 562 F.3d 1032, 1042-43 (10th Cir. 2009)). I~Iowever,
“the publicly disclosed allegations or transactions need only be as broad and as detailed as those
in the relator’s complaint.” Id. at 327.

The Fifth Circuit has adopted the United Sta.tes ex ref. Spririgfi`eld Termi'nal Ry. Co. i).
Qitini?12 test “for determining whether public disclosures contain sufficient indicia of an FCA
violation to bar a subsequently filed FCA complaint.” Soloiiion, 878 F.3d at l4¢l. To find a public
disclosure under this test, the Court must find both the misrepresented state of facts (“X”) and the
true state of facts (“Y”) that together give rise to an inference of fraud (“Z”). Springfi`efd, 14 F.3d
at 653-55. “The presence of le or [Y] in the public domain, but not both, cannot be expected to
set government investigators on the trail of fraud.” let at 655.

“An irreducible minimum is that the disclosures furnish evidence of the fraudulent scheme
alleged.” Li'trle v. She!f Expl. & Prod. Co., 690 F.3d 282, 293 (Sth Cir. 2012). ln the instant case,
the fraudulent scheme alleged is “that each individual Defendant Bank has knowingly concealed
or knowingly and improperly avoided an obligation to pay or transmit money or property to the
government by failing to return government payments of money the Banl<s received for deceased
beneficiaries that the Banks knew to be dead.” Rel.’s Consol. Reply Br. 26 [ECF No. 136] (citing
Am. Compl. fill 19-23, 29, 32-33, 35-39, 44, 52-53, 81-87).

Relator argues that none of the sources cited by Defendants disclosed the particular scheme
alleged in his complaint “By blaming the Government (and others),” Relator argues, “the Banks

are actually highlighting the truth that they have no ‘public disclosure’ of misconduct by the

 

12 l4 F.3d 645 (D.C. Cir. 1994).

l7

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 18 of 37 Page|D 2247

fnonei'nf i'ridusrry.” Rel.’s Mem. in Opp’n at 6-7 {ECF No. 106]. The Court disagrees Certain
of the disclosures cited by Defendants, when considered collectively,13 publicly disclose the
allegations or transactions alleged by Relator, and the Court finds that Relator’s Amended
Complaint is based upon these disclosures
a. Sourees T.~'mt Are nor Pubh`.c Dr`sclosures

Two of the documents identified by Defendants-the Green Bool< and the SSA POl\/lSm
do rio more than “merely restate the law applicable to” RDFls and thus do not publicly disclose
the fraudulent scheme alleged by Relator. Jamison, 649 F.3d at 329. Thus, the Court has not
considered these sources in conducting its analysis

'l`he 2015 SSA Audit, 2015 O’Carroll Statement, 20l1 OPl\/l Audit, VA OiG Report, and
the news articles fail to implicate banks at all, instead identifying agencies’ and/or individuals’
actions or omissions as the causes of improper overpayments Thus, while these sources might
“set the [G]overnment on the trail of fraud,” they do not set the Government on the trail of fraud
by financial institutions Jcmn’son, 649 F.3d at 329 (internal quotation and citation oinitted). The
Court has not considered these sources in conducting its analysis but, for the sake of clarity, will
briefly discuss them.

The 2015 SSA Audit,14 for example, identifies issues with the SSA’s procedure for
determining whether suspended Recipients had died. See Defs.’ App. Bx. l:l, at 4l. The audit
concluded that “SSA did not effectively recover direct deposit payments to bank accounts after

beneficiaries’ deaths because the [SSA} did not always determine when suspended beneficiaries

 

13 'fo satisfy their burden, Defendants need not produce a single document, standing alone, that constitutes a
disqualifying public disclosure. .S'ee United Stcrres v. CSL Behrr`ng, L.L.C., 855 F.3d 935, 944 (8th Cir. 2017) (“[W]e
consider ‘public disclosures contained in different sources’ as a whole to determine whether they collectively ‘provide
information that leads to a conclusion of fraud."’ (quoting United Sm!es ex rell G."lh'gcm v. Med!ron."c, lric., 403 F.3d
386, 390 (6th Cir. 2005))).

14 SOC. SEC. ADMlN., OFF[CE OF Tl-[E lNSPECTOR GEN., AUD['l` Rl£PORT! PAYMENTS DEPOSITED lN'[`O BANK ACCOUN']`S
AFTER BENEFICIARIES ARE DECEASED (2015), littps:/oig.ssa.gov/sites/default/f`iles/audit/full/pdf/A-GZ-13-13052.pdf.

18

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 19 of 37 Page|D 2248

had died.” Defs.’ App. Ex. H, at 46. Similarly, the 1990 General Accounting Office Report15
identifies the VA’s inability to obtain the SSA’s death information and certain Recipients’ lack of
Social Security numbers \as the driving force behind the VA’s payments to deceased liecipients.
See Defs.’ App. Ex. N, at 147-48.

The 2015 O’Carroll Statement16 suffers from the same defects lt identifies “fraud, . . .
poor understanding of reporting responsibilities or inability to report, administrative errors, and
other reasons” as the causes of improper payments Defs.’ App. Ex. Q, at 203. Although this
statement does identify fraud as a cause of overpayments it clarifies that the fraud identified is
perpetrated by “individuals who have concealed a family member’s or other person’s death to
collect the deceased’s Social Security benefits” See td. at 206. The 2010 VA Report171 identifies
causes of overpayments and identifies VA programs that are susceptible to significant improper
payments Defs.’ App. Ex. J, at 84. The report does not mention banks and does not distinguish
between overpayments caused by “a beneficiary d[ying] too late in the month to stop the release
of the payment” and those caused by the VA not being “timely notified of the death of a
beneficiary.” Id.

The 2011 OPi\/l Audit18 also does not indicate any wrongdoing on the part of banks The
only substantive mention of banks’ role in the benefit payment process comes in a section

discussing OPM establishing working relationships with Defendant Wells Fargo and Defendant

 

15 GEN. ACCOUNTING OFFICE, VETERANS’ BENEFlTSI VA NEEDS DEATH lNFORMATlON FROM SOCIAL SECUR[TY TO
AVOID ERRON EOUS PAYMENTS (1990), http://www.gao.gov/assetsf220/2128i9.pdf.

m PATRICK O’CARROLL, .lR., lNSPECTOR GEN., SOC. SEC. ADM]N., EXAMlNlNG FEDERAL lMPROPER PAYMENTS AND
ERRORS IN THE Dt;-`A'l`lt MASTER Fit,E (2015), littps://oig.ssa.gov/sites/default/files/testimony/
0%27Carrol1%201‘iSGAC%201\/1arch%2016%20Written%20Statemcnt%Z(}FlNAL.pdt`.

n DEP"[` Ol"` VETERANS AFFAIRS, EXECUT[VE ORDER l3520 -» REDUC[NG iMPROPER PAYMENT, FY 20l0 F[RST
QUARTER HiGH-DoLLAR Ovi;itPA\/MENTS REPORT (2010),
https:/r'www.va.gov/ABOUT_VA/docs/ZO l 0_higli_dollar_ overpayinent_reporth .pdf.

18 U.S. OFFICE OF PERSONNEL MGMT., OFFlClE OF i`l"lE lNSPl~ECTOR GEN., STOPPlNG lMPR()PER PAYMENTS T() DECEASED
ANNUITANTS (2011), https://www.opm.gov/our-inspector-general/office-of~legal-and~legislative-at`fairs/stopping-
iniproper-payments-to-deceased-annuitants.pdf.

19

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 20 of 37 Page|D 2249

Bank of America “to uncover inactive annuitant accounts, as well as explore ways to proactively
recover improper payments that have been escheated to the States” Defs.’ App. Ex. O, at 175.
Rather than suggest wrongdoing by these banks the audit notes that “Welis Fargo was not able to
verify if the account hoiders were deceased.” Id.

Defendants rely heavily on the VA OIG Report,'q as it discloses one of the examples
Relator proffers in his complaint See Defs.’ App. Ex. l, at 76-77. However, the short summary
of this instance places the blame for any fraud squarely on the deceased Recipient’s daughter See
id. at 77 (“The daughter of a deceased VA beneficiary pled guilty to theft of Government funds.”).

Finaliy, the Washington Post Articie20 and the Government Executive Articie21 both
identify “1nistakes the government mal<es,” rather than fraud by banks as the culprit for payments
being made to deceased Recipients. Defs.’ App. Ex. R, at 209; see also Defs.’ App. Ex. S, at 214
(citing report from SSA lnspector General “that found that more than 180,000 deceased individuais
had not been added to the Death Master File, even though these same individuals had been reported
as deceased to the SSA Supplementai Security Records.”).

b. Sources ThatAre Pubh'c Disclosures

The Court finds that Relator’s Arnended Complaint is based upon public disciosures in the
six remaining sources in Thomcrs v. Sec. of HHS, three widows chailenged the procedure by which
the Government recovers inaccurate social security direct deposit payments No. C 81~2485 SW,
1983 WL 44285, at *l (N.D. Cal. Sept. 14, 1983). Ali three plaintiffs’ stories were similar. ln

each instance, the SSA learned that the Recipient had died, yet that agency continued to certify

 

19 DeP’T oF VETERANS AFFAIRS, OFFICE or run INsPECToR GEN., APR:L 2015 Hiontlonrs (2015),
haps://www.va.g@v/Oig/pubS/high1igms/vAolo-high:igh:s-zei504.paf.

20 David 1~`alirenthold1 Agencies Can 't Ah-vays Teh' Who's Decrd and W/ro’s Not, SO Benejr`t C)'tecks Keep Com."ng,
WAsn. PosT, Nov. 3, 2013.

2' Charles S. Clark, Pus)'i to Cw'.b Pnymems to Deaa' Beneficr`arr`es lnrensr`fies, GOV. EXEC., May 8, 2013.

20

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 21 of 37 Page|D 2250

payments of benefits to him. [d. Each widow closed the joint account that she had shared with
the Recipient, opened a new account in her name, and “executed with the bank a form authorizing
the Treasury Department to deposit her benefits directly into her account.” Id. (emphasis added).
Despite these actions the bank credited the deceased Recipient’s payments to the widow’s closed
joint account and allowed the widow to transfer funds from the closed account to the new one held
in her name. lai Th.amas thus discloses situations in which the bank had at least constructive
knowledge of Recipients’ deaths but continued accepting benefit payments for those Recipients.
1n Der'ryberry, one bank failed and was taken over by another bank. 1998 WL 93275, at
*1. An employee at the former bank, who continued working for the bank when it was taken over,
knew the Recipient had died, yet the successor bank continued to accept the deceased Recipient’s
VA benefits for deposit Id. at *4. The Court determined that the successor bank had not
conclusively established that it did not have knowledge of the Recipient’s death when it took over
the former bank. la’. at "‘5. The Court finds that the Government could infer fraud as one possible
cause of the bank’s failure to cease payments See Solomon, 878 F.Bd at 146 (“We are not
concerned however, with the overall probability of someone inferring fraudulent activity from the
public disclosures The focus is on whether they could have made the inference.” (citing Ja)m'son,
649 F.3d at 331)). Der‘ryber‘ry, like Thomas, involved a situation in which the bank had at least
constructive knowledge of a Recipient’s death yet continued to deposit benefit payments to that
Recipient’s account22
In United S)‘ares v. Morris, the bank advised the deceased Recipient’s daughter that it was

her responsibility to notify the VA of the Recipient’s death and close her mother’s account 284

F. App’x 762, 763 (1 ith Cir. 2008). The daughter failed to do so, and the VA continued making

 

22 The Court has only considered Der.'j)ber.'j), a state court case, for acts occurring before the public-disclosure bar
was amended on March 23, 2010.

21

 

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 22 of 37 Page|D 2251

deposits to the decedent’s account for three years after her death. Ia’. Again, this case exemplifies
the scheme alleged by Relator~_the bank knew the Recipient had died but failed to stop accepting
benefit payments or to notify the relevant agency.

The final three sources United Sfares v. Walker, the 1987 Banking Circular, and the 2012
SSA Report, furnish even more evidence of the alleged fraudulent scheme. Walker discloses the
crux of Relator’s alleged scheme-wa bank knew of a Recipient’s death but failed to properly close
his account 563 F. Supp. 805, 807 (S.D. lowa 1983). Fuither, the SSA made payments it would
not have made had “the bank . . . informed the government of his death as [it was] required to do
by law.” ld. at 809.

The 1987 Banking Circular warned that “some financial institutions” had accumulated
funds that could not be posted to a customer’s account Defs.’ App. Ex. G, at 26. The Banking
Circular noted that “some financial institutions upon learning of the death of a recipient or
beneficiary, piace[d] payments in holding (“suspense”) accounts until a reclamation action [was]
received.” Id. at 27. This document discloses evidence of the scheme alleged by Relator--that
banks knew of Recipients’ deaths yet failed to stop accepting benefit payments The Banking
Circular adds to the cases discussed above, as it makes clear that the problem is not limited to one
or two specific banks

Similariy, the 2012 SSA Report23 noted that the OIG “identified several instances where
banks were maintaining accounts that had been inactive for many years with the exception of
direct deposits of SSA benefit payments.” Defs.’ App. Ex. P, at 186. An account being inactive
may provide a bank with constructive knowledge that the accountholder has died Although this

report does not dictate a finding that fraud has occurred, it details the critical elements of the

 

13 Soc. SEC. ADM\N., OFF1CE or THE INsPECToR GEN., Aunir REPoRr-. UslNo MEDICARE CtAlM DATA To IDEN'rlFY
DECEASED BENErlCi/\Ries (2012), hups://uig.ssa_gov/sites/det`ault/t“rles/andit/full/pdi°/A-OS-OQ-t9105.de.

22

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 23 of 37 Page|D 2252

scheme alleged by Relator with the same level of specificity as does the Aniended Complaint. See
Jami`son, 649 F.3d at 327 (“[F]or the public-disclosure bar to apply, the publicly disclosed
allegations or transactions need only be as broad and as detailed as those in the relator’s compiaint,
because that is all that is needed for the action to be ‘based on’ the public{ly] disclosed
allegations”).

Considei‘ing these public disclosures as a whole, the Court finds that the critical elements
of the alleged fraudulent scheme were in the public domain and that the allegations in Relatoi"s
Amended Complaint are based upon and substantially the same as the allegations contained in
certain of the public disclosures

iv. Original Source

Because the Court has found that there has been a public disclosure and that the instant
action is based upon that disclosure, the Court cannot maintain the action unless Relator is the
original source of the information Under the 1986 version of the FCA, an original source is an
individual who voluntarily provides information to the Government and who has direct and
independent knowledge of the information on which his allegations are based United Smtes ex
i'e[. Reagan v. E. Tex. Mea'. Cir. Reg’l Healthcai-‘e Sys., 384 F.3d 168, l77 (5th Cir. 2004). Under
the 2010 version of the statute, a reiator must “voluntarily disclose[] to the Government the
information on which allegations or transactions in a claim are based” prior to a public disclosure
or have “knowledge that is independent of and materially adds to the publicly disclosed allegations
or transactions” and “voiuntarily providell the information.” 31 U.S.C. § 3730(e)(4)(l3) (2010).

Thus under both statutes whether or not the relator provides information voluntarily is dispositive

23

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 24 of 37 Page|D 2253

a. Volanmry Dr'sc[asure

The Court finds that Relatoi"s disclosure was not voluntary As such, Relator cannot be an
original source. The Fifth Circuit has held that “the fact that a relator ‘was employed specifically
to disclose fraud is sufficient to render his disclosures nonvoluntary.”’ See Li.`/'tle, 690 F.3d at 294
(quoting UnitedSi‘ares ex )'el. Fi‘ne v. Chevron, U.S.A., 72 F.3d 740, 744 (9th Cir. 1995) (en banc)).
lt is undisputed that Relator was an employee of the OlG. He was hired to investigate and disclose
fraud. Thus, he cannot satisfy the voluntariness requirement See Mi'ssl'on, l/i'sian, and Vaiues,
DEP’T or VETERANS AFFAiRs, OFFiCE or INsPeCToR GEN.,
https://www.va.gov/oig/about/default.asp (last visited October 18, 20l8) (“[T]he [OIG] will . . .
prevent and address f`raud, waste, and abuse[.}”).

b. Knawledge

Additionally, for purposes of conduct occurring prior to March 23, 20l0, the Court finds
that Relator does not have direct and independent knowledge about post-death payments from
agencies other than the VA. Relator’s work at the VA may have provided him with direct and
independent knowledge of VA payments but it is difficult to imagine how he would have gained
such knowledge of payments from other agencies Only one of the examples in the Amended
Coinplaint involves a loss by an agency other than the VA, yet the Aniended Complaint purports
to disclose a widespread fraudulent scheme iinpacting the SSA, OPl\/l, and RRB, in addition to the
VA. Relator has failed to provide facts from which the Court could determine that he had direct
and independent knowledge of fraud impactiiig agencies other than the VA.

Relator also cannot establish that he is an independent source under either provision of the
2010 version of the public-disclosure bar. For the same reasons listed above, the Court finds that

Reiator does not have independent knowledge Fiirther, the Court finds that Reiator’s knowledge

24

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 25 of 37 Page|D 2254

does not materially add to the publicly disclosed transactions Tlie burden is on Relator “to show
that the information and allegations he discovered were ‘qualitatively different information than
what had already been discovered’ and not merely the ‘product and outgrowth’ of publicly
disclosed infoi‘mation.” United Srares ex rel Frz'ed v. Wesr lndep. Sch. Di'st., 527 F.3d 439, 443
(5th Cir. 2008) (quoting Fea’. Recovery Sei'vs., 72 F.3d at 452). The information in Relator’s
Amended Complaint, including his nonspecific examples of conduct by Defendants does not
“translate into some additional compelling fact” or “demonstrate a new and undisclosed
relationship between disclosed facts.” Reagan, 384 F.3d at 179. Thus, Relator has not met his
burden

Because the Court finds under both versions of the public~disclosure bar, that there has
been a disqualifying public disclosure and that Relator is not an original source, the Court grants
Defendants’ l\/lotion to Dismiss on public disclosure grounds24

C. F ailure to State a Claim

Because it is unclear whether the public-disclosure bar remains jurisdictional, it is also
unclear whether it is appropriate for the Court to further analyze the Motion to Dismiss after
determining that the bar applies Foi' the sake of completeness however, the Court will briefly

address Defendants’ Motion to Disniiss on Rule 12(b)(6) and Rule 9(b) grounds Even if there

 

24 In the alternative, if necessary, the Court converts Defendants l\/lotion to Disiniss on public disclosure grounds into
a motion for summary judgment See supra note 7. The Court previously found that if the public-disclosure bar is
now an affirmative defense, Defendants have met the burden ofestablisliing the elements ofthi's defense Accordingly,
the Court would grant Defendants’ motion for summary/judgment and dismiss with prejudice Relator’s claims

25

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 26 of 37 Page|D 2255

was no public disclosure, the Court would dismiss Relatoi"s action for failure to allege details of
the purported scheme with the particularity required by Rule 9(b).
i. lee Rule 12(1)) (6) Standard

To defeat a motion to dismiss filed pursuant to Federal Rule of Civil Pi'ocedure 12(b)(6), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
Corp. i). Twoiiibly, 550 U.S. 544, 570 (2007)', Relial)le Consultams, Inc. v. Earle, 517 F.3d 738,
742 (Sth Cir. 2008). ”fo meet this “facial plausibility” standard, a plaintiff must “plead[] factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcrofl v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require
probability, but a plaintiff must establish “more than a sheer possibility that a defendant has acted
unlawfully.” Id. The court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiff Sonni`er v. State Farm Miir. Aaro Ins. Co., 509 F.3d 673, 675 (5th Cir.
2007). However, the court does not accept as true “conclusory allegations unwarranted factual
inferences or legal conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007). A
plaintiff must provide “rnore than labels and conclusions and a forinulaic recitation of the elements
of a cause of action will not do.” Twombly, 550 U.S. at 555 (intei'nal citations omitted). “Factual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Ia’. (internal
citations omitted).

In ruling on a Rule 12(b)(6) motion, the court limits its review to the face of the pleadings
See Spivey v. Robertson, 197 F.3d 772, 774 (Sth Cir. 1999). The pleadings include the complaint
and any documents attached to it Colli'ns v. Morgan Stanley Dean Wi`rter, 224 F.3d 496, 498-99

(5th Cir. 2000). However, the court may also consider documents outside of the pleadings if they

26

 

 

 

 

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 27 of 37 Page|D 2256

fall within certain limited categories First, the “court is permitted . . . to rely on ‘documents
incorporated into the complaint by reference, and matters of which a court may take judicial
notice.”’ Doi-‘Sey v. Portfoli`o Equi'ri`es, fric., 540 F.3d 333, 338 (5th Cir. 2008) (quoting Tellabs,
Ii'ic. v. Makor issues & Righrs, Llal., 551 U.S. 308, 322 (2007)). Second, the “court may consider
documents attached to a motion to dismiss that ‘are referred to in the plaintiff’s complaint and are
central to the plaintiffs claim.”’ Siilli'van v. Leor Energy, LLC, 600 F.3d 542, 546 (5th Cir. 2010)
(quoting Scanlan v. Tex. A & M Univ., 343 F.3d 533, 536 (5th Cir. 2003)). Third, “[i]n deciding
a 12(b)(6) motion to dismiss a court may permissibly refer to matters of public record.” Ci'nel v.
Conm`ck, l5 F.3d 1338, l343 n.6 (Sth Cir. 1994) (internal citations omitted); see also, e.g., Fimk
v. Srryker Corp., 631 F.3d 777, 783 (5th Cir. 201 l) (stating, in upholding district couit’s dismissal
pursuant to Rule 12(b)(6), that “the district court took appropriate judicial notice of publicly-
available documents and transcripts produced by the [Food and Drug Administration], which were
matters of public record directly relevant to the issue at hand.” (internal citations omitted)).

i`he ultimate question is whether the complaint states a valid claim when viewed in the
light most favorable to the plaintiff Great Plai'ns Ti'. Co. v. Morgan Sfanley Dean Wi`rtei' & Cc.,
313 F.3d 305, 312 (5th Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiffs likelihood of success lt only determines whether the plaintiff has stated a claim upon
which relief can be granted Maim v. Adams Realty Co., 556 F.2d 288, 293 (5th Cir. l977).

ii. The Rule 9(b) Standard

“[A] complaint filed under the False Claims Act must meet the heightened pleading
standard of Rule 9(b)[.]” United Srai‘es ex rell Grubbs v. Kaiiriegami`, 565 F.3d i80, 185 (5th Cir.
2009). Rule 9(b) requires that “[i}in alleging fraud or mistake, a party must state with particularity

the circumstances constituting fraud or mistake.” FED. R. CIV. P. 9(b). “At a minimum, Rule 9(b)

27

 

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 28 of 37 Page|D 2257

requires allegations of the particulars of time, place, and contents of the false representations as
well as the identity of the person making the misrepresentation and what he obtained thei'eby.”
Benchmark Elecs., Inc. v. J.M. Huber Coi'p., 343 F.3d 719, 724 (5th Cir. 2003) (quoting Tel»
Phoni‘c Servs., luc. v. TBS lut’l, lnc., 975 F.2d 1l34, l139 (5th Cir. 1992)). Put simply, Rule 9(b)
requires the “who, what, when, where, and how” of the fi'aud. United States ex rel Wi'lii`ams v.
Bell He[i`copter Texri'on Inc., 417 F.3d 450, 453 (5th Cir. 2005) (quotiiig United Srafes ex ref
Thoiiipson v. Co[uiiibi'a/HCA Healfhcare Corp., 125 F.3d 899, 903 (5th Cir. 1997)).

As discussed above, Relator asserts a reverse false claim under § 3729(a)( l )(G) of the FCA.
Whei'e, as hei'e, a relator alleges that a defendant failed to disclose and return an overpayment
liability requires proof of the following elements (1) a false record is ereated; (2) the provider
knows the record is false', (3) the false record or statement is made, used, or caused to be made or
used; (4) to conceal, deci‘ease, or avoid an obligation to pay the Government; and (5) the
misrepresentation is material United Sfai'es ex rel Raiiisey-Ledesma v. Censeo Healrh, L.L.C.,
Civ. A. No. 3:14-CV~00118-M, 2016 WL 566l644, at *1i (N.D. Tex. Sept. 30, 2016) (citing
United Sfates ex rell Li'gai' v. ETS-Li‘ndgren lnc., Civ. A. No. H~l 12973, 2014 WL 4649885, at *12
(S.D. Tex. Sept. 16, 2014)). The reverse false claims provision also imposes liability where a
defendant concealed its obligation to return payments See Ll'gai`, 2014 WL 4649885, at *12-*13
(“[Section 3729(a)(1)(G)] provides both a false-record and fraudulent~concealment provision
applicable to reverse false claims.”).

iii. Analysl's
a. F ailure 10 Sati'sfv Rule 9(b)
Defendants argue that the Amended Complaint fails to satisfy the strictures of Rule 9(b).

Defendants argue that Relator has failed to plead particular details of the overall scheme and attack

28

 

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 29 of 37 Page|D 2258

the element of scienter. Under the Grubbs standai'd, which both parties agree applies in the instant
case, Relator may survive a motion to dismiss by alleging “particular details of a scheme . . . paired
with reliable indicia that lead to a strong inference that” Defendants actually violated the FCA.
565 F.3d at 190. in announcing this standai‘d, the Grabbs court noted that “Rule 9(b)’s ultimate
meaning is context specific” and that “no single construction of Rule 9(b) . . . applies in all
contexts.” 565 F.3d at 188 (quoting Willi`ams v. WMX Techs., lnc., ll2 F.3d 175, l78 (5th Cir.
1997)). Although Grubbs involved a claim under § 3279(a)(l) of the FCA, the Court finds the
standard announced in that case both relevant to and useful in the instant case.

”l` he scheme alleged by Relator is as follows: “(1) "f he Banl<s received DNEs for deceased
individuals that kept getting Government payments (2) The Banks had an obligation to return
those funds and tell the Government agency to stop paying because the person died; (3) The Banks
did not do so; and (4) The Banks acted with the requisite False Claims Act ‘knowledge[.}”’ Rel.’s
Suppl. l\/lem. iii Opp’n 16 [ECF No. 129]. Relator also alleges a separate but closely linked
violation: banks falsely certified when they had learned of Recipients’ deaths when responding to
NORs. Applying the G)"ubbs standard, the Court finds that Relatoi"s allegations do not include
“particular details” of the alleged scheme and lack the “reliable indicia” necessary to satisfy the
strictures of Rule 9(b).

1. Partt.'cm'ar Demi.ls
As Defendants aptly state, Relator fails to include almost any particular details of the

alleged scheme, such as “the subset of recipient deaths that Defendants supposedly exploited[,]”

29

 

 

Case 3:16-cV-00292-S Document 143 Filed 10/26/18 Page 30 of 37 Page|D 2259

the “person at each bank who may have driven the scheme, or any characteristic of the recipients
that made them ripe for the purported fraudulent scheine.” Defs.’ Br. 37 [ECF No. 94].

Relatoi"s Amended Complaint is especially deficient with regard to the “who” of the
alleged scheme. Other than in the representative list of examples he provides Relator entirely fails
to distinguish between Defendants See fn re Parkeentral Gfob. Li'ti`g,, 884 F. Supp. 2d 464, 470-
7l (N.D. Tex. 20l2) (“Rule 9(b) requirements must be met as to each defendant lt is
impermissible to make general allegations that lump all defendants together . . . .” (emphasis
added)). Further, the examples Relator does provide are insufficient evidence from which the
Court can infer a scheme to violate the FCA. And, despite alleging that the RRB and OPl\/l were
defrauded pursuant to the alleged scheme, the Amended Complaint is almost completely devoid
of details relating to any agency other than the VA.

The Aniended Complairit also lacks necessary details with regard to the “what” and “how.”
Ci'itically, Relator omits particular details about the allegation upon which the entire scheme
alleged by Relator relies: that Defendants received notice of Recipients’ deaths through the receipt
of DNES. “ln accordance with SSA DNE procedures,” Relator contends “the Defendant banks
receive a SSA DNE on the day after a death termination is displayed . . . . By virtue of this
procedure, each Defendant bank would have been in possession of an electronic record notifying
it of the beneficiary’s death.” Ani. Compl. il 39. Relatoi' does not, and cannot, allege that a DNE
was indeed sent or received every time Defendants failed to stop accepting payments and notify
federal agencies that a Recipient had died. lnstead, he relies on the SSA’s policy, as reflected in
the agency’s POMS, Gl\l 02408.605. See Defs.’ App. Ex. l\/l. ’i`he manual states that “a DNE
normally goes out as soon as SSA receives” information about a Recipient’s deatli. Ia'. at 140

(emphasis added). Further, the manual states that, “On the day after a death termination is

30

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 31 of 37 Page|D 2260

displayed . . . , SSA passes a DNE to the Richmond Federal Reserve Banl< (RFRB) . . . . RFRB
then passes the information through the [ACH] to the {RDFI].” Id. at 14i. Then, the RDFI is
supposed to “return[], within three days, any additional government benefit payments that arrive
for this {Recipient].” ld. For already-posted payments, the RDFI “has the option of waiting for a
[NOR] before returning the funds to the agency.” ld.

Defendants repeatedly counter that the DNE process is woefully inadequate because not
all agencies issue DNES and because the Government has a difficult time keeping track of
Recipient deaths And, in the examples provided by Relator, there is no aliegation that a DNE was
sent to or received by any of the Defendants Without more information, the Court cannot assume
that a DNE is sent and received every time a Recipient dies. Therefore, the Court finds that this
allegation is insufficient to “raise a right to relief above the speculative level.” Twombly, 550 U.S.
at 555.

Even if the Court accepts as true Relator’s allegation that SSA sent a DNE each time a
Recipient died, there is no explanation of, much less any particulars of the alleged fraud, how the
scheme operated from that point forward Reiator fails to ailege any details, such as who at the
bank would receive the DNE, how it would be processed, or how the notification system shouid
have worked ln sum, the Arnended Complaint is devoid of the particular details required by Rule
9(b) and Grt/bbs that would demonstrate that the failure to stop accepting payments or to return
payments already posted resulted from fraud, as opposed to administrative oversight or mistake

2. Reliab[e Indl`cl'a
Even assuming that Relator has included particular details of the alleged scheme, the

Amended Cornplaint lacks the “reliable indicia” needed to satisfy the requirements of Rule 9(b)

with respect to each defendant “Ruie 9(b) is intended to give a defendant a reasonable ability to

31

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 32 of 37 Page|D 2261

investigate and to respond when charged with something as serious as fraud.” Dafwadi v. Holiday
Hosp. Frcmchising, lnc., Civ. A. No. H~l6-2588, 2017 WL 4479962, at *7 (S.D. Tex. luly 5,
2017).

Relator, relying on Grubbs, argues that pleading details of his personal knowiedge of the
recurring problem he uncovered satisfies his obligation to offer “reiiabie indicia” that an FCA
violation occurred See Rel.’s Mem. in Opp’n 30 [ECF No. 102] (“Relator’s experience and
position establishes . . . sufficient ‘reliable indicia’ to support his allegations . . . that the Banks
received the DNES as claimed.”). The Grubbs court found that, in a situation where “the particular
workings of a scheme [were} communicated directly to the reiator by those perpetrating the fraud,”
the relator’s personal knowledge sufficed 565 F.3d at l9i. However, the Grubbs relator’s
personal knowledge is completeiy distinguishable from Relator’s knowledge in the instant case.
In Grubbs, the relator “describe[d} in detaii, including the date, place, and participants, the dinner
meeting at which two doctors . . . attempted to bring him into the fold of their on-going fraudulent
plot.” 565 F.Bd at 191-92. He corroborated this ailegation with descriptions of a meeting with
nurses who tried to heip him carry out the scheme, along with specific dates on which “each doctor
falsely claimed to have provided services to patients.” Ic)'. at 192. Taken together, these allegations
were sufficient to allege fraud.

By contrast, Relator offers a sweeping description of an alieged scheme implicating many
financial institutions and involving several federal agencies His allegations are corroborated only
by unadorned examples of instances in which VA payments continued after SSA payments had
stopped and conclusory allegations that unnamed representatives of unidentified banks confirmed
that those banks intentionally continued making payments after learning of a Recipient’s death.

These allegations simply are not sufficient, under any reading of Ruie 9(b), to support the inference

32

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 33 of 37 Page|D 2262

that Defendants’ actions constituted fraud, rather than innocent mistake, negligence, or a
regulatory violation.

Rule 9(b), in addition to ensuring fair notice, “aiso prevents nuisance suits and the filing of
baseless ciaims as a pretext to gain access to a ‘fishing expedition.”’ Grtil)bs, 565 F.3d at l91.
Critically, in Grttbbs, the particular details and reliable indicia offered by the relator “iimit[ed] any
‘fishing’ to a smali pond that [was] either stocked or dead.” Id. Relator’s allegations, by contrast,
could give him access to an ocean of potential claims. 'l`o adequately defend themselves, all fifteen
Defendantsz£‘ would need to investigate the accounts of every Recipient who has died (and,
presumably, stopped receiving SSA benefits) since February 2, 2010. The banks do not know
whether they are on the hook for failing to notify an agency of a Recipient’s death, improperly
responding to an NOR (that may or may not have been sent), or both. Rule 9(b) prohibits access
to such a vast expanse of claims without substantially more particularized pleadings

3. Strong Inference that Defendants Violated the FCA

Because Relator’s Amended Complaint lacks both particuiar details and reliable indicia, it
does not lead to a strong inference that the FCA has been violated. Relator’s allegations fail to
move the needle from “innocent mistakes or negligence” to affirmative fraud. United States v.
South/and Mgmt. Corp., 326 F.3d 669, 681 (Sth Cir. 2003); see also Universal Healrh Servs_ Inc.

v. United States ex rel Escobar, 136 S. Ct. 1989, 2003 (2016) (observing that the FCA “is not an

 

25 The Court does not include Compass Bank in this totai. Relator voluntariiy dismissed Compass Bank, as noted
above. See supra note l.

33

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 34 of 37 Page|D 2263

atl-purpose antifraud statute, or a vehicle for punishing garden-variety breaches of contract or
regulatory violations.” (internal quotation marks and citation omitted)).
4. Scr`.enter

Relator’s vague group pleading approach cripples his ability to establish scienter. To
establish scienter, Relator must allege that Defendants acted “knowingly.” 31 U.S.C. §
3729(a)(l )(G). To allege that Defendants acted “knowingiy,” Relator must allege that they knew
they were misrepresenting their knowledge of Recipients’ deaths, they deliberately remained
ignorant, or they recklessly disregarded the accuracy of their representations Ia’_ § 3729(b)(1)(A).
“Allegations of scienter may be averred generally, but simple allegations of fraudulent intent will
not suffice, and ‘ plaintiffs must set forth speci]?c facts supporting an inference of fraud.”’ fn re
Pnrkcentml G!ob. L:`tig., 884 F. Supp. 2d at 471 (quoting Litson-Grtrenber v. JPMOI‘gan Chase &
Co., Civ. A. No. 7:09-CV-056-O, 2009 WL 4884426, at *4 (N.D. Tex. Dec. 16, 2009)).

Defendants argue that banks are incentivized not to lie because they bear any loss to the
Government first, even if they are blameless See 31 C.F.R. § 2l0.10(a) (“An RDFI shall be liable
to the Federal Government for the total amount of ail benefit payments received after the death or
legal incapacity of a recipient or the death of a beneficiary unless the RDFI has the right to limit
its liability. . . .”). Relator responds that the Court can infer scienter because the misconduct was
routine, representatives of the banks allegedly admitted to investigators that they knowingly
accepted payments for deceased Recipients, each bank was a knowledgeable ACH participant, and
the banks had a business inventive to continue receiving payments Thus, Relator argues, “[i]t is

certainly reasonable for this Court to infer . . . that . . . the Banks knew how to follow ACH

34

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 35 of 37 Page|D 2264

regulations, were more than capable of doing so, failed to do so on a routine basis, and benefitted
as a result of such misconduct.” Rel"s l\/iem. in Opp’n 33 [ECF No. 102].

As noted above, the Court finds that Relator has insufficiently pleaded the alleged
misconductl Tlier‘efor'e, the Court cannot conclude that there was any routine misconduct Reiator
fails to identify which banks’ representatives allegedly confirmed misconduct to investigators so
that alleged fact also does not support an individualized finding of scienter. And, as Defendants
note, RDFls have an incentive nor to continue receiving payments Tiie competing incentives
faced by RDFIS undercut Relator’s argument that the Court can infer scienter based on what
Defendants stand to gain.

The argument that Defendants are knowledgeable ACH participants has weaknesses as
weli. Whiie Reiator points to one provision of the Green Book, 5-8, that requires RDFls to
immediately return payments after a Recipient dies, Defendants point to another provision of the
Green Book, 5-9, that uses more lenient language FCA liability does not attach when a defendant
reasonably, yet erroneously, interprets its legal obligationsl United Sfares ex rel Parcell v. MWI
Coip., 807 F.3d 281, 287-88 (D.C. Cir. 2015).; see also UnitedSrafes ex rel Harper v. Maskingam
l/Varerslrea' Conservancy D:'st., 842 F.3d 430, 437 (6th Cir. 2016) (noting that FCA’s scienter
standard “requires plaintiffs to prove that the defendant knows that he violated an obligation, not
simply that he mistakenly interpreted a legal obligation.”).

For the foregoing reasons, the Court finds that Relator has not sufficiently pleaded scienter.
Because of this deficiency, along with those discussed above, the Court grants Defendants’ i\/iotion

to Dismiss based on Rules 12(b)(6) and 9(b).

35

 

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 36 of 37 Page|D 2265

b. Ar‘gumenrs not Reachea'

Defendants also allege that many of the examples of specific misconduct are time-barred
under Part 210 and that that the claims against Citibank, M&T Bank, PNC Bank, Frost Bank,
American National Bank, Centrue Bank, and Amarillo National Bank should be dismissed
Because the Court has already elucidated two separate and independent grounds for dismissal, the
Court declines to reach these arguments and expresses no opinion on them.

c. Conflict oflnterest

Defendants argue that Relator’s request for a share of any monetary relief won should be
stricken pursuant to federal confiict~of-interest rules. Because the Court grants Defendants’
l\/lotion to Dismiss, it need not consider this request and finds that it is moot.

D. Statute of Lz`mi!atiolrs

Defendants move for dismissal of all claims arising more than before six years before
Relator filed his complaint on Febi‘uary 2, 2016. At the hearing held on l\/lay 10, 2018, counsel
for Relator stipulated that Relator was not “seeking damages prior to six years from the filing of
the original complaint.” Hr’ g Tr. 85:18~l9. Thus, only claims that arose on or after February 2,
20l0, remain at issue in this case, and Defendants’ I\/lotion to Dismiss on limitations grounds is
moot.

III. CONCLUSION

For the foregoing reasons, the Court denies the Motion to Disniiss on standing grounds

'i`he Court denies as moot Defendants’ Motion to Dismiss on statute of limitations grounds The

Court grants the l\/Iotion to Disrniss on public disclosure grounds and for failure to state a claim.

36

 

Case 3:16-cV-OO292-S Document 143 Filed 10/26/18 Page 37 of 37 Page|D 2266

Because there has been a disqualifying public disclosure, the Court finds that amendment would

be futile and dismisses Relator’s lawsuit with prejl udice.

SO ORDEREI).

stGNsD october £,é» ,20:3.

  

 

KAREN GREN sCHoLER
curran srATEs msTthT simon

37

 

